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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA


v.                                                  Case No. 23-CR-441 (RC)
                                                    UNDER SEAL

JORGE SOLARES RUANO
_______________________________/

                      NOTICE OF LIMITED APPEARANCE

       COMES NOW, JEFFREY G. BROWN, ESQ., and hereby enters this Notice

of Limited Appearance for the purpose of sponsoring the out of state attorney, Scott

T. Kalisch, Esq., who is seeking to appear pro hac vice, on behalf of JORGE SOLARES

RUANO, in the above styled cause.

       The Clerk is requested to enter the appearance of the undersigned attorney for

this limited purpose only and the undersigned is to be withdrawn once Scott T. Kalish,

Esq. is admitted pro hac vice.



       Dated: April 16, 2024                  _____/s/ Jeffrey G. Brown____________
                                              JEFFREY G. BROWN, ESQUIRE
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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 16th day of April, 2024, this Notice has been
provided to the Clerk of the Court via e-mail to dcd_cmecf_cr@dcd.uscourts.gov.

                                              _____/s/ Jeffrey G. Brown____________
                                              JEFFREY G. BROWN, ESQUIRE
                                              Brown Doherty Little
                                              450 Carillon Parkway, Suite 120
                                              St. Petersburg, FL 33716
                                              (727) 299-0099, Ext. 1
                                              FBN 832431
                                              jeff@lawbdl.com
                                              jennifer@lawbdl.com




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